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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

THOMAS LANDELL DAVIDSON,                    §
                                            §
                     Plaintiff,             §
                                            §
VS.                                         §       Civil Action No. 3:17-CV-0006-D
                                            §
AT&T MOBILITY, LLC;                         §
CITY OF DALLAS, TEXAS; and                  §
ALAN JARVIS, Individually,                  §
                                            §
                     Defendants.            §

                                  MEMORANDUM OPINION
                                      AND ORDER

       In this action by plaintiff Thomas Landell Davidson (“Davidson”) asserting claims

under 42 U.S.C. § 1983 and Texas tort law, the remaining defendant—Alan Jarvis

(“Jarvis”)—moves for summary judgment as to all claims against him. The principal

questions presented are whether Jarvis is entitled to qualified immunity for his use of non-

deadly force against Davidson and for his decision to detain and arrest Davidson, and

whether the Texas Tort Claims Act (“TTCA”) bars Davidson’s state-law tort claims against

Jarvis. For the reasons that follow, the court grants Jarvis’ motion and dismisses this case

with prejudice.

                                                I

       The present case is the subject of two starkly-contrasting narratives. The court will

present both narratives here, although, for the purposes of its analysis below, the court will

view the evidence in the light most favorable to Davidson as the summary judgment
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nonmovant and will draw all reasonable inferences in his favor. See, e.g., Owens v.

Mercedes-Benz USA, LLC, 541 F.Supp.2d 869, 870 n.1 (N.D. Tex. 2008) (Fitzwater, C.J.)

(citing U.S. Bank Nat’l Ass’n v. Safeguard Ins. Co., 422 F.Supp.2d 698, 701 n.2 (N.D. Tex.

2006) (Fitzwater, J.)).1

       Davidson asserts that Jarvis assaulted and unlawfully arrested him on January 4, 2015.

On that date, Davidson—a Florida resident—visited an AT&T Mobility, LLC (“AT&T”)

store in Dallas and attempted to purchase three cell phones with cash. The store manager

refused to allow him to buy any number of phones with cash, insisting instead that Davidson

use a major credit card. According to Davidson, the manager at no point asked him to leave,

nor did the manager ask Jarvis to remove him from the store premises.

       At this point, Jarvis appeared. Jarvis was an off-duty City of Dallas (“City”) police

officer who was working as a security officer for the store’s landlord. According to

Davidson, without provocation, Jarvis yelled at him to “get the hell out” of the store;

Davidson agreed to leave and began making his way to the door, while Jarvis continued to

yell and curse at him; and Jarvis opened the exit door for Davidson, pushed him outside the

store,2 and then attempted to punch him. Davidson maintains that he managed to block the


       1
         Jarvis makes a number of objections to Davidson’s summary judgment evidence.
The court overrules those objections as moot because, even assuming that all of Davidson’s
evidence is admissible, Jarvis is still entitled to summary judgment. See, e.g., Dall. Police
Ass’n v. City of Dallas, 2004 WL 2331610, at *1 n.4 (N.D. Tex. Oct. 15, 2004) (Fitzwater,
J.) (following similar approach).
       2
       A video that Davidson submits as summary judgment evidence (see discussion infra)
shows that the store opened to an exterior sidewalk that separated the store from parked cars.

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initial punch, but Jarvis continued to attack him, throwing multiple punches and trying to

throw Davidson to the ground. Davidson avers that he never tried to strike Jarvis during this

altercation. Eventually, with the assistance of two bystanders, Jarvis managed to bring

Davidson to the ground. Jarvis then put Davidson in a choke hold, which cut off Davidson’s

breathing. Fearing for his life, Davidson broke loose, stood up, and began walking—not

running—away; Jarvis reacted by tasing him several times, causing him to fall back to the

ground. Jarvis then straddled Davidson, placed his taser directly against Davidson’s head,

and tased him for roughly two minutes. Some on-duty police officers arrived, and Davidson

was arrested for criminal trespass and assault on a public servant—crimes that Davidson

contends he did not commit. Jarvis refused medical care, whereas Davidson suffered injuries

that required medical attention. The criminal charges against Davidson were eventually

dismissed.

       Jarvis recounts a different version of the events in question. According to Jarvis, on

January 4 he was working inside the AT&T store providing security on behalf of the store’s

landlord. At the time, he was clearly identifiable as a police officer because he was wearing

his police uniform, badge, and safety equipment. The store’s manager came to him saying

that Davidson had been asked to leave several times, but had so far refused. Jarvis

approached Davidson and instructed him to leave the store. Davidson stood up but did not

immediately move toward the exit, so Jarvis placed a hand on Davidson’s arm to physically


The storefront had glass doors abutted by floor-to-ceiling glass walls (at least for the parts
of the storefront that can be seen on the video).

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escort him out. Davidson slapped Jarvis’ hand away, swore at him, and said that he was

leaving. Davidson then began making his way toward the door. He stopped just before

reaching the doorway, so Jarvis once again took hold of Davidson’s arm. Davidson pulled

away and, once again, swore at Jarvis and said that he was leaving.

       Jarvis opened the front door for Davidson and gestured for him to leave, but Davidson

stopped just inside the doorway and continued to yell. Jarvis then used his left hand to guide

Davidson out of the store; Davidson responded by punching Jarvis in the face. Jarvis tried

to throw Davidson off balance using an “arm bar take down,” Aff. Jarvis 2, but was

unsuccessful. Davidson then pulled Jarvis out of the store and pushed him up against the

window, causing Jarvis to fall to the sidewalk and hit his head. Davidson pinned Jarvis down

until some unknown bystanders pulled him off, and then Davidson attempted to escape. He

did not get far—Jarvis used a “body displacement maneuver” to bring Davidson to his knees,

and then tried to tase him. Id. at 3. This first attempt to tase Davidson failed because only

one of the two taser leads made contact. Davidson tried to escape again, and again Jarvis

brought him down with a body displacement maneuver. Jarvis attempted to pin Davidson

down and tase him, but Davidson was able to get up. While Jarvis was on his knees,

Davidson circled Jarvis and charged him, trying to take Jarvis’ taser away. When Jarvis

stood up, Davidson fled once again. Jarvis brought Davidson down for the third time with

a body displacement maneuver, and used his taser on Davidson’s lower back until Davidson

stopped resisting. Other police officers then arrived and placed Davidson in handcuffs. As

a result of the encounter, Jarvis suffered a broken nose, a black eye, multiple bruises and

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lacerations, and a concussion.

         Davidson has submitted a video of the altercation comprised of 18 seconds of

sequential still photos taken by in-store security cameras.3 The video sheds some light on

what happened, but it is not dispositive. In it, Jarvis and Davidson can be seen walking to

the store’s front double-glass doors as two customers enter the store. Jarvis is then seen

opening the right-hand door for Davidson and pointing for him to leave. As Davidson walks

toward the door, he stops just short of it, and, after raising both of his hands about chest

high, places himself in very close proximity to Jarvis, who is standing adjacent to the

doorway. Davidson then cocks his head back, as if to say something to Jarvis, and moves

in closer to him. In apparent response, Jarvis pushes Davidson through the doorway.

Davidson resists the push and turns rapidly to face Jarvis. What happens next is unclear due

to the quality of the video and the contrast between the exterior and interior lighting. It is not

clear who throws the first punch. But a scuffle ensues that spills out of the store; Davidson


         3
          As Davidson points out, video evidence has a special status at the summary judgment
stage.

                [W]e assign greater weight, even at the summary judgment
                stage, to the facts evident from video recordings taken at the
                scene. When one party’s description of the facts is discredited
                by the record, we need not take his word for it but should view
                the facts in the light depicted by the videotape.

Newman v. Guedry, 703 F.3d 757, 761 (5th Cir. 2012) (internal quotation marks and citations
omitted) (first quoting Carnaby v. City of Houston, 636 F.3d 183, 187 (5th Cir. 2011), then
quoting Scott v. Harris, 550 U.S. 372, 380-81 (2007)). Jarvis makes an objection to
Davidson’s video, but because the court is relying in part on the video to grant summary
judgment in Jarvis’ favor, it overrules his objection.

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gets the upper hand and pushes Jarvis against an exterior wall. A bystander can be seen

rushing from the parking lot toward the altercation just before the video ends. For purposes

of this motion, the court will assume arguendo that the events of January 4 occurred as they

did in the video, and will resolve any remaining factual questions—such as who threw the

first punch, and what happened after Davidson’s video ends—in Davidson’s favor. See

Newman v. Guedry, 703 F.3d 757, 761 (5th Cir. 2012); Owens, 541 F.Supp.2d at 870 n.1.

       Davidson filed the present lawsuit against Jarvis, AT&T, and the City. Only Jarvis

remains as a defendant.4 Davidson brings a claim against Jarvis under § 1983, contending

that Jarvis detained him without reasonable suspicion, arrested him without probable cause,

and used excessive force against him, all in violation of his Fourth Amendment rights.

Davidson also alleges that Jarvis committed the Texas common-law torts of false arrest and

false imprisonment, intentional infliction of emotional distress, and assault and battery. He

seeks compensatory damages, punitive damages, and attorney’s fees.

       Jarvis moves for summary judgment. He contends that Davidson lacks any evidence

to support his § 1983 claims, that Davidson cannot overcome the defense of qualified

immunity, and that Davidson’s Texas-law claims are barred by Tex. Civ. Prac. & Rem. Code

Ann. § 101.106(f) (West 2011). Davidson opposes the motion and offers evidence in support

of his claims. Jarvis, in turn, objects to Davidson’s evidence. The motion is now ripe for


       4
         The court granted AT&T’s motion to dismiss all claims against it with prejudice. See
Davidson v. AT&T Mobility, LLC, 2018 WL 4075722, at *1 (N.D. Tex. Aug. 27, 2018)
(Fitzwater, J.). Davidson, Jarvis, and the City later stipulated to the dismissal, with prejudice,
of all claims brought by or against the City in this action.

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decision.

                                              II

       When a summary judgment movant will not have the burden of proof on a claim at

trial, he can obtain summary judgment by pointing the court to the absence of evidence on

any essential element of the nonmovant’s claim. See Celotex Corp. v. Catrett, 477 U.S. 317,

325 (1986). Once he does so, the nonmovant must go beyond his pleadings and designate

specific facts demonstrating that there is a genuine issue for trial. See id. at 324; Little v.

Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc) (per curiam). An issue is

genuine if the evidence is such that a reasonable jury could return a verdict for the

nonmovant. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The nonmovant’s

failure to produce proof as to any essential element renders all other facts immaterial. See

TruGreen Landcare, L.L.C. v. Scott, 512 F.Supp.2d 613, 623 (N.D. Tex. 2007) (Fitzwater,

J.). Summary judgment is mandatory where the nonmovant fails to meet this burden. Little,

37 F.3d at 1076.

       When qualified immunity has been raised, “[t]he moving party is not required to meet

[his] summary judgment burden for a claim of immunity.” Hathaway v. Bazany, 507 F.3d

312, 319 (5th Cir. 2007) (internal quotation marks and citation omitted). Rather, the movant

need only plead his good-faith entitlement to qualified immunity, whereupon “the burden

shifts to the plaintiff to rebut it.” Id. (internal quotation marks, citation, and emphasis

omitted); see also Gates v. Tex. Dep’t of Protective & Regulatory Servs., 537 F.3d 404, 419

(5th Cir. 2008) (noting that when government official pleads qualified immunity, plaintiff

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must “rebut the defense by establishing that the official’s allegedly wrongful conduct

violated clearly established law and that genuine issues of material fact exist regarding the

reasonableness of the official’s conduct”). Once qualified immunity is asserted, the burden

shifts to the plaintiff to demonstrate the inapplicability of the defense. McClendon v. City

of Columbia, 305 F.3d 314, 323 (5th Cir. 2002) (en banc) (per curiam).5

                                              III

       The court considers first whether Davidson has overcome Jarvis’ defense of qualified

immunity as to Davidson’s federal-law claims brought under § 1983.

                                               A

       Qualified immunity jurisprudence is well settled. “[G]overnment officials performing

discretionary functions generally are shielded from liability for civil damages insofar as their

conduct does not violate clearly established statutory or constitutional rights of which a

reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).

Qualified immunity applies to state officials sued for constitutional violations under § 1983.

See id. at 818 n.30 (citing Butz v. Economou, 438 U.S. 478, 504 (1978)); Palmer v. Johnson,

193 F.3d 346, 351 (5th Cir. 1999). “‘Qualified immunity gives government officials

breathing room to make reasonable but mistaken judgments,’ and ‘protects all but the plainly

incompetent or those who knowingly violate the law.’” Thompson v. Mercer, 762 F.3d 433,


       5
         In his response brief, Davidson fails to acknowledge the burden-shifting effect of
qualified immunity. Because Jarvis has asserted in his summary judgment motion his
entitlement to qualified immunity, the burden has shifted to Davidson to demonstrate that
Jarvis is not entitled to qualified immunity. See, e.g., McClendon, 305 F.3d at 323.

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437 (5th Cir. 2014) (quoting Ashcroft v. al-Kidd, 563 U.S. 731, 743 (2011)) (some internal

quotes omitted).

       “To decide whether defendant[] [is] entitled to qualified immunity, the court must first

answer the threshold question whether, taken in the light most favorable to plaintiff[] as the

part[y] asserting the injuries, the facts [he has] alleged show that defendant[’s] conduct

violated a constitutional right.” Ellis v. Crawford, 2005 WL 525406, at *3 (N.D. Tex. Mar.

3, 2005) (Fitzwater, J.) (citing Saucier v. Katz, 533 U.S. 194, 201 (2001) (“A court required

to rule upon the qualified immunity issue must consider, then, this threshold question: Taken

in the light most favorable to the party asserting the injury, do the facts alleged show the

officer’s conduct violated a constitutional right? This must be the initial inquiry.”)).6 “If no

constitutional right would have been violated were the allegations established, there is no

necessity for further inquiries concerning qualified immunity.” Saucier, 533 U.S. at 201.

“[I]f a violation could be made out on a favorable view of the parties’ submissions, the next,

sequential step is to ask whether the right was clearly established.” Id. Finally, “[e]ven if

the government official’s conduct violates a clearly established right, the official is

nonetheless entitled to qualified immunity if his conduct was objectively reasonable.”

Wallace v. County of Comal, 400 F.3d 284, 289 (5th Cir. 2005) (citing Hare v. City of


       6
        Saucier’s two-step procedure for determining qualified immunity is no longer
mandatory. See Pearson v. Callahan, 555 U.S. 223, 232 (2009). Courts are free to consider
Saucier’s second prong without first deciding whether the facts show a constitutional
violation. Id. The “decision does not prevent the lower courts from following the Saucier
procedure; it simply recognizes that those courts should have the discretion to decide whether
that procedure is worthwhile in particular cases.” Id. at 242.

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Corinth, 135 F.3d 320, 325 (5th Cir. 1998) (en banc)). “The objective reasonableness of

allegedly illegal conduct is assessed in light of the legal rules clearly established at the time

it was taken.” Salas v. Carpenter, 980 F.2d 299, 310 (5th Cir. 1992) (citing Anderson v.

Creighton, 483 U.S. 635, 639 (1987)). “‘The defendant’s acts are held to be objectively

reasonable unless all reasonable officials in the defendant’s circumstances would have then

known that the defendant’s conduct violated the’ plaintiff’s asserted constitutional or federal

statutory right.” Cozzo v. Tangipahoa Parish Council-President Gov’t, 279 F.3d 273, 284

(5th Cir. 2002) (quoting Thompson v. Upshur County, 245 F.3d 447, 457 (5th Cir. 2001)).

       Clearly established rights must not be defined at a high level of generality. See

Brosseau v. Haugen, 543 U.S. 194, 198-99 (2004). “For example, the right to due process

of law is quite clearly established by the Due Process Clause, and thus there is a sense in

which any action that violates that Clause . . . violates a clearly established right.” Anderson,

483 U.S. at 639. But because defining clearly established rights so broadly would “destroy”

the balance struck by the qualified immunity doctrine, rights must instead be defined in a

“more particularized” sense. Id. at 639-40. “The relevant, dispositive inquiry in determining

whether a right is clearly established is whether it would be clear to a reasonable officer that

his conduct was unlawful in the situation he confronted.” Brosseau, 543 U.S. at 199

(emphasis added) (quoting Saucier, 533 U.S. at 202). Although this does “not require a case

directly on point,” it does require the plaintiff to show that “the violative nature of the

particular conduct is clearly established.” Mullenix v. Luna, ___ U.S. ___, 136 S. Ct. 305,

308 (2015) (per curiam) (quoting Ashcroft, 563 U.S. at 741-42). “Such specificity is

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especially important in the Fourth Amendment context, where the [Supreme] Court has

recognized that ‘[i]t is sometimes difficult for an officer to determine how the relevant legal

doctrine, [such as] excessive force, will apply to the factual situation the officer confronts.’”

Id. (second alteration in original) (quoting Saucier, 533 U.S. at 205). In essence, the plaintiff

must “identify a case where an officer acting under similar circumstances as [the defendant]

was held to have violated the Fourth Amendment.” White v. Pauly, ___ U.S. ___, 137 S. Ct.

548, 552 (2017) (per curiam).

                                               B

       Regardless whether Jarvis had probable cause to arrest Davidson, or reasonable

suspicion to detain him, Davidson has not shown that Jarvis’ detaining and arresting him was

objectively unreasonable in light of clearly established law.7

              “The right to be free from arrest without probable cause is a
              clearly established constitutional right.” To overcome the
              qualified-immunity defense, the plaintiff[] must show [the
              defendant] did not have probable cause to arrest [him]. Probable
              cause exists when a police officer “had knowledge that would
              warrant a prudent person’s belief that the person arrested had
              already committed or was committing a crime.” An officer is
              entitled to qualified immunity even if she “reasonably but
              mistakenly conclude[d] that probable cause [was] present.”

Lock v. Torres, 694 Fed. Appx. 960, 964 (5th Cir. 2017) (fourth and fifth alterations in

original; citations omitted) (quoting Mangieri v. Clifton, 29 F.3d 1012, 1016-17 (5th Cir.




       7
        The court will assume arguendo that Jarvis was the arresting officer, or that his
actions otherwise constituted a detention or an arrest for Fourth Amendment purposes.

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1994)).8

       From the moment Jarvis first approached Davidson, a reasonable officer in his

position could have concluded that he had probable cause to arrest Davidson for the offense

of criminal trespass. See Tex. Penal Code Ann. § 30.05 (West 2011). Under § 30.05(a)(2),

a person commits an offense if he “remains on or in property of another . . . without effective

consent” and “received notice to depart but failed to do so.” An officer has probable cause

to arrest a trespasser if someone on the scene tells the officer that the trespasser has refused

to leave, and the officer hears the trespasser refuse to leave. See Bodzin v. City of Dallas,

768 F.2d 722, 724-25 (5th Cir. 1985).

       Davidson does not dispute that an AT&T employee told Jarvis that Davidson was

refusing to leave the store premises. Davidson does aver that “the manager of the store never

asked . . . for Officer Jarvis’ assistance.” P. Interrog. Resp. Jarvis 4 (emphasis added). But

this fact (even taken as true) does not create a fact issue concerning whether the manager

specifically told Jarvis that Davidson was refusing to leave—regardless whether the manager

did or did not request Jarvis’ assistance. In fact, Davidson asserts in his response brief that

Jarvis’ actions were sparked by an “errant hearsay statement . . . made by an employee of

AT&T.” P. Resp. 13.

        Moreover, Davidson cannot at this juncture dispute that some employee of AT&T



       8
         Because “‘reasonable suspicion’ is a less demanding standard than probable cause,”
Illinois v. Wardlow, 528 U.S. 119, 123 (2000), the court’s conclusion regarding probable
cause forecloses Davidson’s argument regarding reasonable suspicion.

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asked for Jarvis’ assistance. Davidson alleges in his second amended complaint that an

AT&T employee “request[ed] that Defendant Jarvis . . . remove Plaintiff from the store.” 2d

Am. Compl. ¶ 12. “[A] party is bound by admissions made in his pleadings, such that he

cannot present evidence contradicting those pleadings for the purpose of defeating a

summary judgment motion.” Giddens v. Cmty. Educ. Ctrs., Inc., 540 Fed. Appx. 381, 391

(5th Cir. 2013) (per curiam) (citing Davis v. A.G. Edwards & Sons, Inc., 823 F.2d 105, 107-

08 (5th Cir. 1987)); see also Peairs v. Jackson County, 2015 WL 5666906, at *14 (S.D.

Miss. Sept. 25, 2015). Unless Davidson can somehow explain away this inconsistency, he

cannot create a fact issue by now asserting that Jarvis was acting totally unprompted.

       On the foregoing facts, viewed favorably to Davidson, it would have been reasonable

for Jarvis to conclude that he had probable cause to arrest Davidson. Even though Jarvis,

unlike the defendants in Bodzin, never heard Davidson refuse to leave, this factual distinction

is relatively minor; a reasonable officer could have relied on Bodzin in Jarvis’ circumstances.

       Davidson’s interrogatory responses, read in the light most favorable to him, suggest

that he did not actually commit the offense of criminal trespass because Jarvis was the first

person to ask him to leave, and because he immediately attempted to comply with Jarvis’

request. But he cites no case for the proposition that, when an officer is incorrectly told that

a person is trespassing, the officer lacks probable cause to arrest, or reasonable suspicion to

detain, that person. The probable cause inquiry focuses on the facts known to the officer at

the time of the arrest. See Duckett v. City of Cedar Park, 950 F.2d 272, 278 (5th Cir. 1992)

(“A police officer has probable cause to arrest if, at the time of the arrest, he had knowledge

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that would warrant a prudent person’s belief that the person arrested had already committed

or was committing a crime.” (emphasis added)). Jarvis reasonably could have concluded that

the facts known to him would warrant a prudent person’s belief that Davidson had committed

the offense of criminal trespass. See Bodzin, 768 F.2d at 724-25. Thus Davidson has not

carried his burden of showing that Jarvis’ actions were objectively unreasonable and that he

is not entitled to qualified immunity on his claims for false detention and false arrest.9

                                                C

       The court now turns to Davidson’s excessive force claim, which fails for two reasons.

First, Davidson fails to cite any case law showing that Jarvis’ particular actions violated

Davidson’s clearly established constitutional rights. Although Davidson correctly states the

test for excessive force in the Fifth Circuit, and the factors to be considered,10 simply reciting

       9
         Even if no one told Jarvis that Davidson had refused to leave, both parties agree that
Jarvis himself told Davidson to leave. A reasonable officer could consider Davidson’s
hesitation at the door to be a non-verbal refusal to comply with Jarvis’ command—thus
constituting, by itself, the offense of criminal trespass. See Cano v. Vickery, 2018 WL
4567169, at *4 (S.D. Tex. Sept. 24, 2018) (suggesting that uniformed off-duty police officer
working security on private property has apparent authority to instruct someone to leave, for
purposes of § 30.05); Brown v. State, 2009 WL 2340669, at *3 (Tex. App. July 31, 2009, no
pet.) (“Section 30.05 of the Texas Penal Code does not require that the actor verbally express
a refusal to leave the property after being instructed to do so.” (emphasis added)); Hernandez
v. State, 783 S.W.2d 764, 765 (Tex. App. 1990, no writ) (“[A] stay of any length of time after
entry would satisfy the ‘remain’ requirement [of § 30.05].”).
       10

               To prevail on an excessive-force claim, [plaintiff] must show
               “(1) injury, (2) which resulted directly and only from a use of
               force that was clearly excessive, and (3) the excessiveness of
               which was clearly unreasonable.” . . . [T]he reasonableness of
               an officer’s conduct depends on the “facts and circumstances of
               each particular case, including the severity of the crime at issue,

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the general standard would not enable a reasonable trier of fact to find that Jarvis’ actions

violated a clearly established right. Cf. Mullenix, 136 S. Ct. at 308-09 (holding that general

rule that police “may not ‘use deadly force against a fleeing felon who does not pose a

sufficient threat of harm to the officer or others’” was not sufficiently specific right in

qualified-immunity inquiry (quoting Luna v. Mullenix, 773 F.3d 712, 725 (5th Cir. 2014)).

In a footnote in the procedural history section of his brief, Davidson also cites several cases

for the proposition that, on January 4, 2015, “it was clearly established law that it was

unreasonable and excessive for an officer to abruptly escalate an encounter via a physical

takedown where even passive resistance was at hand.” P. Resp. 2 n.1. But the cases

Davidson cites would not have put a reasonable officer on notice that Jarvis’ particular

actions constituted an abrupt escalation of force. Davidson has “failed to identify a case

where an officer acting under similar circumstances as [Jarvis] was held to have violated the

Fourth Amendment.” White, 137 S. Ct. at 552.

       Preliminarily, although several of the cases Davidson cites were decided after 2015,

when the incident in question occurred, see Darden v. City of Fort Worth, 880 F.3d 722 (5th

Cir. 2018); Hanks v. Rogers, 853 F.3d 738 (5th Cir. 2017); Trammell v. Fruge, 868 F.3d 332



              whether the suspect poses an immediate threat to the safety of
              the officers or others, and whether he is actively resisting arrest
              or attempting to evade arrest by flight.”

Cooper v. Brown, 844 F.3d 517, 522 (5th Cir. 2016) (citations omitted) (first quoting
Elizondo v. Green, 671 F.3d 506, 510 (5th Cir. 2012), then quoting Graham v. Connor, 490
U.S. 386, 396 (1989)).

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(5th Cir. 2017), the court will take them into account nonetheless because they reach

conclusions about whether certain conduct violated clearly established law prior to 2015.

In Darden the plaintiff “put his hands in the air when the officers entered the residence,

complied with the officers’ commands, and did not resist arrest. Yet [one defendant]

allegedly threw [plaintiff] to the ground and twice shocked him with a Taser while he was

being beaten by [another defendant].” Darden, 880 F.3d at 731. Here, the surveillance video

indicates that Davidson did not completely comply with Jarvis’ commands: he stopped before

leaving the AT&T store, in very close proximity to Jarvis.11 After Jarvis pushed12 him out

the door, Davidson rapidly turned toward Jarvis. In the moment, this act could have been

perceived as a threat justifying the use of non-deadly force. See Graham v. Connor, 490 U.S.

386, 396 (1989) (“The calculus of reasonableness must embody allowance for the fact that

police officers are often forced to make split-second judgments—in circumstances that are

tense, uncertain, and rapidly evolving—about the amount of force that is necessary in a

particular situation.”). The court will not second-guess Jarvis’ reactions “in the peace of a



       11
         Even if Davidson were completely compliant, it would not necessarily end the
analysis. The Fifth Circuit has “cautioned that ‘we do not say that any application of force
to a compliant [suspect] is per se unreasonable.’” Escobar v. Montee, 895 F.3d 387, 394-95
(5th Cir. 2018) (quoting Cooper, 844 F.3d at 524).
       12
        Davidson cites no case suggesting that pushing a noncompliant trespassing suspect
through a doorway constitutes excessive force. All of the cases he cites, as the discussion
below shows, involve much higher levels of force than a simple one-handed push. See, e.g.,
Bush v. Strain, 513 F.3d 492, 502 (5th Cir. 2008) (“[Defendant] should have known that he
could not forcefully slam [plaintiff’s] face into a vehicle while she was restrained and
subdued.” (emphasis added)).

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judge’s chambers.” Saucier, 533 U.S. at 212 (quoting Graham, 490 U.S. at 396). After the

first punch was thrown, Davidson clearly put up a fight: the video depicts Davidson grabbing

Jarvis and pushing him against a wall. Thus Davidson posed much more of a threat than the

purely passive plaintiff in Darden.

       The next case, Hanks, held that, as of 2013,

              clearly established law demonstrated that an officer violates the
              Fourth Amendment if he abruptly resorts to overwhelming
              physical force rather than continuing verbal negotiations with an
              individual who poses no immediate threat or flight risk, who
              engages in, at most, passive resistance, and whom the officer
              stopped for a minor traffic violation.

Hanks, 853 F.3d at 747 (citing cases). But a reasonable officer could have concluded that

these were not the circumstances on January 4, 2015. The plaintiff in Hanks was facing

away from the defendant with his hands behind his back when the defendant allegedly struck

him. See id. at 746. Davidson was not. The video indicates that Davidson was turning

quickly to face Jarvis—in very close proximity to him—when Jarvis acted. The facts of the

present case therefore differ materially from those in Hanks.

       The third case, Trammell, is similarly inapposite. That case involved multiple police

officers who aggressively took down, and subsequently continued to beat, a public-

intoxication suspect who offered only passive resistance. Trammell, 868 F.3d at 336-38.

While the present case involves a similarly minor crime—criminal trespass is a Class B

misdemeanor, see Tex. Penal Code Ann. § 30.05(d)(1)—it is reasonable to conclude that an

off-duty police officer working alone would need to be more vigilant for potential threats


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than a group of police officers working together. And Davidson, unlike the Trammell

plaintiff, actively resisted by pushing Jarvis into a wall after the first punch was thrown. The

facts of the present case do not align with those of Trammell.

       The remaining cases that Davidson cites likewise fail to show that Jarvis’ particular

conduct violated Davidson’s clearly established rights. In Bush v. Strain, 513 F.3d 492 (5th

Cir. 2008), the court concluded that an officer who injured the plaintiff by allegedly “pushing

her head into the rear window of an automobile after she was arrested, handcuffed, and

compliant” had employed excessive force. Id. at 495. Here, Davidson was not already

arrested and restrained at the time Jarvis allegedly struck him; he was on his feet and posed

a potential threat.

       Ramirez v. Martinez, 716 F.3d 369 (5th Cir. 2013), held that an officer violates the

Fourth Amendment when he tases a suspect who merely pulls his arm away from the

officer’s grasp, and when he continues to tase the suspect once the suspect is in handcuffs.

Id. at 378-79. According to Davidson’s narrative, Jarvis did not tase him until he broke free

from Jarvis’ chokehold and began to walk away. Davidson’s action could have been

interpreted as fleeing under the Graham factors. And Jarvis did not tase Davidson after

putting him in handcuffs.

       Finally, in Goodson v. City of Corpus Christi, 202 F.3d 730 (5th Cir. 2000), the court

held that no reasonable officer could have concluded that the defendants had reasonable

suspicion to detain the plaintiff. See id. at 740. This conclusion weighed heavily in the

court’s decision to deny qualified immunity as to the plaintiff’s excessive force claim. See

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id. Here, in contrast, Jarvis had probable cause to believe Davidson was committing a crime.

This affects the “severity of the crime at issue” factor under Graham. See Trammell, 868

F.3d at 343. And, again, while the plaintiff in Goodson posed no apparent threat, the same

cannot be said of Davidson. Goodson therefore did not clearly establish the law governing

Jarvis’ conduct. Bush, Ramirez, and Goodson are therefore inapposite.

       Because Davidson fails to cite any case law showing that Jarvis’ specific conduct was

unlawful, he has not met his burden to overcome qualified immunity. See Perniciaro v. Lea,

901 F.3d 241, 256 (5th Cir. 2018) (“[Plaintiff] has not cited a single case—either in his

briefing before the district court or before us—clearly establishing that the particular conduct

at issue here violates [federal law].      Thus he has failed to address the dispositive

question[.]”). Jarvis is therefore entitled to qualified immunity on Davidson’s excessive

force claim.

       Putting aside the question of qualified immunity, Davidson also fails to meet his

evidentiary burden as the summary judgment nonmovant. “The party opposing summary

judgment is required to identify specific evidence in the record and to articulate the precise

manner in which that evidence supports his or her claim.” Ragas v. Tenn. Gas Pipeline Co.,

136 F.3d 455, 458 (5th Cir. 1998) (citing Forsyth v. Barr, 19 F.3d 1527, 1537 (5th Cir.

1994)). Here, Davidson cites the factors to be considered in evaluating whether a given use

of force was excessive, and then conclusorily asserts:




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              In this case, when one reviews such factors, it is apparent that
              such factors weigh in favor of Plaintiff and hence, given that a
              reasonable jury could find the use of force at hand to be
              excessive and Davidson has presented sufficient evidence to
              create a factual dispute, Defendant’s Motion on such point
              should be denied.

P. Resp. 15. Notably absent from Davidson’s argument is any explanation of why the

evidence he submits creates a genuine issue of material fact under the relevant standard. This

court need not “provide Davidson with arguments that he neglects to generate.” D. Reply

16 (citing Williams v. Valenti, 432 Fed. Appx. 298, 303 (5th Cir. 2011) (per curiam)).

                                              IV

       The court next considers whether Jarvis is entitled to summary judgment on

Davidson’s state-law claims.

                                              A

       Jarvis moves to dismiss the state-law tort claims against him under § 101.106(f) of the

TTCA. Section 101.106(f) provides:

              If a suit is filed against an employee of a governmental unit
              based on conduct within the general scope of that employee’s
              employment and if it could have been brought under this chapter
              against the governmental unit, the suit is considered to be
              against the employee in the employee’s official capacity only.
              On the employee’s motion, the suit against the employee shall
              be dismissed unless the plaintiff files amended pleadings
              dismissing the employee and naming the governmental unit as
              defendant on or before the 30th day after the date the motion is
              filed.

Tex. Civ. Prac. & Rem. Code Ann. § 101.106(f). Although § 101.106(f) is a state statute, it

can be raised in federal court as a defense to alleged violations of Texas tort law. See, e.g.,

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Wilkerson v. Univ. of N. Tex., 878 F.3d 147, 158-62 (5th Cir. 2017). To obtain a dismissal

under § 101.106(f), a defendant must show that the plaintiff’s suit “(1) was based on conduct

within the general scope of the defendant’s employment with a governmental unit and (2)

could have been brought against the government unit under the [Texas] Tort Claims Act.”

Anderson v. Bessman, 365 S.W.3d 119, 124 (Tex. App. 2011, no pet.); see also Zahn v.

Solano, 2012 WL 13027085, at *1 (N.D. Tex. May 29, 2012) (Means, J.); Kelemen v. Elliott,

260 S.W.3d 518, 524 (Tex. App. 2008, no pet.). The first prong of the test involves two

inquiries: “whether the individual defendant was an employee of a governmental unit and

whether the acts alleged fall within the scope of that employment at the relevant time.”

Anderson, 365 S.W.3d at 124 (citing Poland v. Willerson, 2008 WL 660334, at *4 (Tex.

App. Mar. 13, 2008, pet. denied) (mem. op.); Turner v. Zellers, 232 S.W.3d 414, 417 (Tex.

App. 2007, no pet.)). As to the second prong, “[a]ll common-law tort theories alleged against

a governmental unit are assumed to be ‘under the Tort Claims Act’ for purposes of section

101.106.” Wilkerson, 878 F.3d at 161 (quoting Franka v. Velasquez, 332 S.W.3d 367, 369

(Tex. 2011)). Thus a suit “could have been brought under [the TTCA] against the

governmental unit” even if the TTCA does not waive sovereign immunity for the suit in

question. See Franka, 332 S.W.3d at 369.

                                             B

       Jarvis previously moved under Fed. R. Civ. P. 12(b)(6) to dismiss the Texas-law

claims against him under § 101.106(f). The court denied the motion because, “based on the

amended complaint alone, Jarvis . . . failed to carry his burden to show that Davidson’s

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claims are based on conduct within the general scope of [Jarvis’] employment with the City.”

Davidson v. AT&T Mobility, LLC, 2018 WL 1407283, at *9 (N.D. Tex. Mar. 21, 2018)

(Fitzwater, J.). Now, based on the summary judgment record, the court concludes that a

reasonable trier of fact could only find that Jarvis was acting within the scope of his

employment as a City police officer.13

       The TTCA defines “scope of employment” as “the performance for a governmental

unit of the duties of an employee’s office or employment and includes being in or about the

performance of a task lawfully assigned to an employee by a competent authority.” Tex. Civ.

Prac. & Rem. Code Ann. § 101.001(5). Texas peace officers retain “their status as peace

officers twenty-four hours a day.” Blackwell v. Harris County, 909 S.W.2d 135, 139 (Tex.

App. 1995, writ denied). As a result, the “scope of employment is not determined simply on

the basis of whether an officer is technically off-duty or on-duty.” Harris County v. Gibbons,

150 S.W.3d 877, 882 (Tex. App. 2004, no pet.). Instead, “the dispositive question is: ‘in

what capacity was the officer acting at the time he committed the acts for which the

complaint is made.’” Kraidieh v. Nudelman, 2016 WL 6277409, at *5 (Tex. App. Oct. 27,

2016, no pet.) (mem. op.) (citing Blackwell, 909 S.W.2d at 139). “If an officer is performing

a public duty, such as the enforcement of general laws, he is acting in the course and scope

of his employment as a police officer even if the [private] employer directed him to perform


       13
         It appears to be undisputed that Jarvis was employed as a City police officer at the
time of the incident. See Davidson, 2018 WL 1407283, at *8 (“Davidson admits that Jarvis
was an employee of a government unit during the alleged offense.”). The more contentious
question is whether Jarvis’ actions were in the scope of his duties as a police officer.

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the duty.” Id. (brackets in original) (citing Gibbons, 150 S.W.3d at 882). If, however, “there

is no immediate crime and the off-duty officer is protecting a private employer’s property or

otherwise enforcing a private employer’s rules or regulations, the trier of fact determines

whether the officer was acting as a public officer or as a servant of the employer.” Gibbons,

150 S.W.3d at 882 (citing Mansfield v. C.F. Bent Tree Apartment Ltd. P’ship, 37 S.W.3d

145, 150 (Tex. App. 2001, no pet.)). In addition, “[a]n employee’s act is not within the scope

of employment when it occurs within an independent course of conduct not intended by the

employee to serve any purpose of the employer.” Restatement (Third) of Agency § 7.07(2)

(2006), quoted by Alexander v. Walker, 435 S.W.3d 789, 792 (Tex. 2014).

       In his response to Jarvis’ motion for summary judgment, Davidson makes the ipse

dixit assertion that “there are genuine issues of material fact that need to be decided by a

jury” regarding the capacity in which Jarvis was acting. P. Resp. 16. But Davidson does not

identify any particular evidence that would create a genuine factual dispute on this point. Cf.

Ragas, 136 F.3d at 458. Indeed, there appears to be no dispute. As noted above, Davidson

acknowledges that an employee of AT&T told Jarvis that Davidson was refusing to leave the

premises. This gave Jarvis probable cause to believe Davidson may have been committing

a crime: criminal trespass. See Bodzin, 768 F.2d at 724-25. Because Jarvis was enforcing

the general laws at the time he committed his alleged torts against Davidson, he was acting

within the scope of his employment as a police officer. See Kraidieh, 2016 WL 6277409,

at *5. A reasonable trier of fact could therefore only find that the first prong of § 101.106(f)



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is satisfied.14

                                               C

        Turning to the second prong, the court concludes that Davidson’s state-law claims for

false arrest and false imprisonment, intentional infliction of emotional distress, and assault

and battery could have been brought against the City under the TTCA because they are

common-law tort theories. See Wilkerson, 878 F.3d at 161. Davidson reasserts, by

reference, the arguments he made in his response to Jarvis’ Rule 12(b)(6) motion that (1) §

101.106(f) does not apply to claims for intentional torts, and (2) if it does so apply, it is

invalidated by the open-courts provision of the Texas Constitution, see Tex. Const. art. 1, §

13. Both of these arguments are clearly foreclosed by Texas law.

        The Texas courts of appeals have repeatedly and expressly held that claims for

intentional torts “could have been brought . . . against the governmental unit” for the

purposes of § 101.106(f), even though the TTCA does not waive immunity for such claims.


        14
          Were the court to conclude that Jarvis was acting in his capacity as a private security
guard rather than as a public employee, it would have to grapple with the uncertain question
whether an off-duty police officer acting outside the scope of his public employment can
assert qualified immunity. See Bracken v. Okura, 869 F.3d 771, 777 & n.4 (9th Cir. 2017)
(“Neither this court nor the Supreme Court has addressed the general availability of qualified
immunity to off-duty police officers acting as private security guards. . . . We are also not
aware of any case from other circuits squarely addressing the issue.”); see also Morris v.
Dillard Dep’t Stores, Inc., 277 F.3d 743, 753 (5th Cir. 2001) (“Police officers, like other
public officials acting within the scope of their official duties, are shielded from claims of
civil liability, including § 1983 claims, by qualified immunity.” (emphasis added)). The
question whether a defendant can assert qualified immunity is different from the question
whether the defendant acted under color of state law. See, e.g., Wyatt v. Cole, 994 F.2d 1113,
1118 (5th Cir. 1993) (holding that state-action requirement was satisfied under § 1983 even
though defendant, a private person, could not assert qualified immunity).

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See, e.g., Zavala v. Bustos, 2018 WL 3764568, at *3 (Tex. App. Aug. 9, 2018, no pet.);

McFadden v. Olesky, 517 S.W.3d 287, 298-99 (Tex. App. 2017, pet. denied); City of Dallas

v. Groden, 2016 WL 1367380, at *7 (Tex. App. Apr. 6, 2016, pet. denied); Lopez v. Serna,

414 S.W.3d 890, 895 (Tex. App. 2013, no pet.). The Supreme Court of Texas has impliedly

held the same. See Alexander, 435 S.W.3d at 792 (concluding that plaintiff’s tort claims,

which included assault, false arrest, and false imprisonment, could have been brought under

TTCA for purposes of § 101.106(f), even though TTCA does not waive immunity for them).

These decisions leave little room for good-faith debate.

       Davidson’s constitutional argument has similarly been foreclosed by the Texas courts.

In Franka the Supreme Court of Texas noted in dicta:

              [w]e recognize that the Open Courts provision of the Texas
              Constitution prohibits the Legislature from unreasonably
              abrogating well-established common-law claims, but restrictions
              on government employee liability have always been part of the
              tradeoff for the Act’s waiver of immunity, expanding the
              government’s own liability for its employees’ conduct, and thus
              a reasonable exercise of the police power in the interest of the
              general welfare.

Franka, 332 S.W.3d at 385 (footnotes and internal quotation marks omitted). “Relying on

the Supreme Court’s reasoning in Franka, many of [the Texas courts of appeals] have

addressed constitutional challenges to section 101.106(f) and have concluded that it does not

violate the open courts provision of the Texas Constitution.” McFadden, 517 S.W.3d at 299

(citing Groden, 2016 WL 1367380, at *5-6 (collecting cases)). It seems clear that, were the

Supreme Court of Texas to consider the issue today, it would hold that the Texas


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Constitution does not invalidate § 101.106(f) as applied to intentional torts.15

       Because § 101.106(f) applies to Davidson’s state-law tort claims against Jarvis, and

because Davidson has not amended his pleadings to dismiss Jarvis and add the City as a

defendant, the court dismisses Davidson’s state-law claims with prejudice.16

                                         *     *      *

       For the foregoing reasons, the court grants Jarvis’ motion for summary judgment and

dismisses this action with prejudice by judgment filed today.

       SO ORDERED.

       February 7, 2019.



                                             _________________________________
                                             SIDNEY A. FITZWATER
                                             SENIOR JUDGE




       15
         Moreover, under Rule 5.1(a)(2), a party challenging the constitutionality of a state
statute must serve a copy of the paper challenging the statute on the attorney general of the
relevant state. Davidson has provided no certification or other statement indicating that he
has done so.
       16
        Jarvis also moves for summary judgment to the extent Davidson attempts to state a
claim for negligent infliction of emotional distress. It is not apparent from the second
amended complaint that Davidson is attempting to plead such a claim. If he is, the court
agrees that the claim should be dismissed because Texas does not recognize the tort of
negligent infliction of emotional distress. See Tolbert v. Otstott, 2013 WL 3389041, at *2
(Tex. App. July 3, 2013, no pet.) (citing Boyles v. Kerr, 855 S.W.2d 593, 594 (Tex. 1993)).

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